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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA


CHILDREN’S HEALTH DEFENSE,

       Plaintiff,

       v.
                                                            Civil Action No. 23-0220 (RDM)
FOOD AND DRUG ADMINISTRATION,

       Defendant.



                               DECLARATION OF SUZANN BURK

       I, Suzann Burk, hereby declare as follows:

       1.         I am the Director of the Division of Disclosure and Oversight Management

(“DDOM”), Office of Communication, Outreach and Development, Center for Biologics

Evaluation and Research (“CBER”), United States Food and Drug Administration (“FDA”), in

Silver Spring, Maryland.

       2.         As the Director of DDOM, I have overall responsibility for the disclosure of records

officially maintained by CBER, the center in FDA that regulates biological products such as blood,

vaccines, gene therapy, and human cells, tissues, and cellular and tissue-based products (HCT/Ps).

I have been the Director of DDOM since June 24, 2018. Prior to that date, I was the Team Lead of

the Electronic Disclosure Team in DDOM for approximately nine-and-a-half years. Before that, I

was a member of the Congressional and Oversight Branch in DDOM for two years and, before

that, a member of the Access Litigation and Freedom of Information Branch (“ALFOI”) in DDOM

for four years.
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       3.      DDOM is composed of the ALFOI, the Congressional and Oversight Branch, and

the Electronic Disclosure Branch.

       4.      ALFOI is primarily responsible for the review and disclosure of CBER-maintained

records in response to FOIA requests and FOIA litigation. ALFOI may also, at times, be

responsible for other litigation-related document requests, such as responses to discovery requests

and third-party subpoenas. ALFOI also responds to consultation requests from other federal

agencies and other FDA components that are processing FOIA requests for records that contain

information related to CBER. These records need to be reviewed, redacted, and returned to the

entity requesting the consult for production.

       5.      The statements contained in this declaration are based upon my personal

knowledge, as well as official FDA records and information available to me in my official capacity.

       6.      The purpose of this declaration is to explain the basis for FDA’s request that this

case be stayed for eighteen months, followed by a status update from the agency about its ability

to proceed with the case at that time. Specifically, this declaration describes: 1) ALFOI’s general

FOIA responsibilities and necessary work processes; and 2) ALFOI’s recent and unprecedented

workload obligations.

       7.      As explained below, ALFOI is currently working at full capacity to satisfy

unprecedented productions ordered by the United States District Court for the Northern District of

Texas in Pub. Health & Med. Pros. for Transparency (“PHMPT”) v. FDA, Civ. A. No. 21-1058

(“PHMPT 1”) and PHMPT v. FDA, Civ. A. No. 22-0915 (“PHMPT 2”), as well as other essential

FOIA obligations. Collectively, these cases require ALFOI to produce at least 90,000 to 110,000

pages per month from July 2023 to November 2023, and starting in December 2023, at least

180,000 pages per month until June 2025. These substantial productions have been ordered




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alongside a backdrop of other increased workload obligations, including an increase in incoming

FOIA requests and FOIA litigation stemming, in large part, from requests related to FDA’s work

pertaining to the COVID-19 pandemic. In recent years, ALFOI’s resources have been increasingly

devoted to lawsuits from plaintiffs represented by Siri & Glimstad (“Siri”), who are plaintiffs’

counsel in PHMPT 1 and PHMPT 2. Indeed, Siri is counsel for plaintiffs in the majority of the

current FOIA litigation related to CBER records processed by ALFOI, and ALFOI has received

hundreds of FOIA requests to date from Siri or Siri-represented parties.

       8.      ALFOI must immediately triage its limited resources in order to comply with these

unprecedented court-ordered productions while responding to other FOIA requesters. A stay of

this case will help ensure that ALFOI can conduct a careful, line-by-line review of any responsive

records in this case and others, as required by the legal obligations detailed more fully below.

   FDA’S LEGAL OBLIGATIONS TO PROTECT CONFIDENTIAL INFORMATION

       9.      Many records that are responsive to FOIA requests received by CBER contain

information that is exempt from disclosure. FOIA (5 U.S.C. § 552(b)) exempts several categories

of information from its disclosure requirements, including trade secrets and confidential

commercial or financial information obtained from a person, Section 552(b)(4); information

covered by the deliberative process privilege, attorney work-product privilege, or attorney-client

privilege, Section 552(b)(5); and personnel, medical, and similar files if disclosure would result in

a clearly unwarranted invasion of personal privacy, Section 552(b)(6).

       10.     Consistent with FOIA’s exemptions, the Federal Food, Drug, and Cosmetic Act

(“FDCA”) prohibits the release of trade secret information to those other than Department of

Health and Human Services employees, Congress, or the courts where relevant in cases brought

under the FDCA. 21 U.S.C. § 331(j). The Trade Secrets Act prohibits the release of trade secret



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information unless otherwise authorized by law. 18 U.S.C. § 1905. In addition, FDA regulations

provide, inter alia, that: (a) trade secret and privileged or confidential commercial information is

unavailable for public disclosure; and (b) identifying information in medical or similar files

(which, if disclosed, would be an unwarranted invasion of personal privacy) is unavailable for

public disclosure. 21 C.F.R. §§ 20.61, 20.63.

         11.   As a result, it is important for ALFOI to perform a careful line-by-line, word-by-

word review of all responsive records before production, parsing the information that is protected

from the information that is not.

                  ALFOI’S PROCESS FOR HANDLING FOIA REQUESTS

         12.   FOIA requests for CBER-maintained records are forwarded to ALFOI from FDA’s

Division of Freedom of Information in the Office of the Executive Secretariat, Office of the

Commissioner of Food and Drugs. ALFOI places each request in one or more of six queues of

pending requests, based on the volume, complexity, and/or subject matter of the requested records.

Requests in each queue are generally assigned to reviewers for processing on a first-in, first-out

basis.

         13.   When a request is assigned to a reviewer for processing, the reviewer must search

for and collect potentially responsive records from various file locations, including hard copy and

electronic filing systems. In addition, a reviewer may need to contact CBER personnel and direct

them to search their individual files. Records available only in hard copy are scanned into

electronic files. After the reviewer collects potentially responsive records, s/he conducts an initial

review to verify that the records are, in fact, responsive to the requests. Next, the reviewer conducts

a line-by-line, word-by-word disclosure review of the responsive records to determine which, if

any, FOIA exemptions apply, and then electronically redacts the material, as appropriate. ALFOI’s



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review may (and often does) require research to evaluate whether certain information falls within

a FOIA exemption. For example, an ALFOI reviewer may research whether certain information

has been made public (i.e., is no longer “confidential”).

       14.     ALFOI may consult with FDA’s Office of the Chief Counsel to resolve questions

on complex or novel disclosure issues. Then, the reviewer conducts a quality control check to

ensure that the responsive records have been properly prepared for public disclosure and, finally,

prepares copies of the responsive records for delivery to the requester. Throughout the process, the

ALFOI branch chief or I may provide substantive input regarding the search’s scope and whether

the records may be disclosed.

       15.     Additionally, if a record contains information belonging to other federal agencies,

FDA will send the record to the relevant federal agencies for consultation. These consultations can

occur more than once in the review process and inform FDA’s determination about the

applicability of any FOIA exemption.

       16.     After the necessary review and internal and external consultations, records may be

transmitted to FDA’s Office of the Chief Counsel and the Department of Health and Human

Services’ Office of the General Counsel for legal defensibility review. Once that legal review is

completed, a senior reviewer in ALFOI conducts a quality control review to ensure that the

responsive records have been properly prepared for public disclosure.

       17.     The same process set forth in paragraphs 13-15 for FOIA requests are followed

with respect to records required to be produced in response to discovery requests, third-party

subpoenas, and court orders in FOIA cases.

               ALFOI’S UNPRECEDENTED WORKLOAD OBLIGATIONS

       18.     Prior to the 2022 court-ordered production order in PHMPT 1, ALFOI consisted of

nine regular staff and one branch chief. With this staff, ALFOI was able to keep its FOIA queues


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relatively stable. The following table illustrates the total number of FOIA requests received by

ALFOI from fiscal years 2015 to 2018 (ranging from 255 to 343 FOIA requests) and the number

of FOIA requests pending at the end of each fiscal year (ranging from 39 to 54 FOIA requests).

During this time, ALFOI’s litigation workload was limited or non-existent in any given year.

                  ALFOI’s FOIA Workload Summary - Fiscal Years 2015 to 2018

    Fiscal Year            Total Requests           Pending Requests, End Total FOIA Litigation
                           Received                 of FY                 Cases Filed 1
    2015                            255                        39                    0
    2016                            343                        49                    1
    2017                            266                        47                    0
    2018                            291                        54                    0

           19.    In fiscal year 2019, the number and complexity of FOIA requests received by

CBER began to increase. As shown in the following table, by fiscal year 2021, CBER began to

receive annual requests exceeding 500: 509 requests in fiscal year 2021 and 633 requests in fiscal

year 2022. This increase was exacerbated by requests for records related to the COVID-19

pandemic. Moreover, in fiscal year 2020, FOIA litigation cases also began to add significantly to

ALFOI’s workload.




1
           This reflects the fiscal year in which the complaint was first filed.



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                  ALFOI’s FOIA Workload Summary - Fiscal Years 2019 to 2022

    Fiscal Year     Total Requests       Total Requests       Pending Requests,       Total FOIA
                    Received             Closed               End of FY               Litigation Cases
                                                                                      Filed 2
    2019                    391                 361                83 pending                 3
    2020                    399                 280               197 pending                 6
    2021                    509                 326               380 pending                 5
    2022                    633                 471               532 pending                 8

           20.    As of August 2, 2023, ALFOI has received 262 FOIA requests from Siri or a Siri-

represented party—60 of which have been the subject of agency appeals, and 18 of which have

been the subject of litigation. 3 Of these 262 FOIA requests, 142 remain pending. 4

           21.    Although data for fiscal year 2023 is not yet complete, the data collected as of June

30, 2023, shows that ALFOI has received 369 new FOIA requests and that ten new FOIA lawsuits

were filed involving CBER records. Currently, ALFOI has twelve active litigation cases, including

this one. Moreover, the number of pending FOIA requests has increased (660 requests), while the

number of closed FOIA requests in 2023 (242 requests) has decreased when compared to this point

in the previous fiscal year.

           22.     Managing the FOIA backlog requires the dedication of substantial resources in

light of the unprecedented court-ordered productions in PHMPT 1 and 2. In PHMPT 1 and

PHMPT 2, plaintiffs have collectively sought approximately 5.7 million pages of records related

to COVID-19 vaccines.



2
         The total number of active litigations in a fiscal year may be higher because work on a
litigation case may span more than one fiscal year.
3
        Some of the FOIA requests are grouped with others in the same suit, and thus the number
of suits the Branch is involved in is lower than the number of requests in litigation.
4
           This includes requests that have been appealed or are the subject of active litigation.



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       23.     The records at issue in PHMPT 1, in which plaintiff is represented by Siri,

constitute over 1.1 million pages related to Pfizer-BioNTech’s Comirnaty vaccine for COVID-19

approved for individuals 16 years of age and older. The Northern District of Texas ordered ALFOI

to produce the PHMPT 1 records beginning in March 2022 at an unprecedented average rate of

55,000 pages per month. 5 FDA anticipates that the productions of PHMPT 1 records will be

completed by November 2023. 6

       24.     Given that the production rate ordered in PHMPT 1 far exceeded FOIA production

rates typically ordered by courts, DDOM and ALFOI implemented sweeping organizational and

work process changes, including, among other things, hiring contractors and additional full-time

employees (“FTEs”), reorganizing staff, and diverting resources from processing other FOIA

matters. Among other things, we assigned nine FTEs and hired approximately 9.5 (nine full-time

and one part-time) contractors to primarily focus on processing records for the PHMPT 1 litigation,

leaving a small team of six FTEs to assume primary responsibilities for all other FOIA requests.

       25.     CBER estimates that the cost of contractors alone for processing records in

PHMPT 1 will total approximately $3.5 million through October 2023. This past spring, ALFOI

received approval to hire six new FTEs, which will cost an estimated $1.8 million annually (in

salary, benefits, and other employee-related expenses). These FTEs have only recently joined

ALFOI and are currently being on-boarded and trained. Aggressive efforts to recruit and train

contractors and new staff and implement other work process changes remain ongoing.



5
       In consideration of the agency’s motion to partially modify the scheduling order, the court
imposed a graduated production schedule, which required ALFOI to produce 10,000 pages per
month in March and April 2022; 80,000 pages per month in May, June, and July 2022; 70,000
pages in August 2022; and 55,000 pages per month thereafter.
6
       See PHMPT 1, Civ. A. No. 21-1058, ECF No. 67 (N.D. Tex. Mar. 24, 2023).



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       26.      While ALFOI was marshaling its resources to comply with the PHMPT 1

production order, Siri-represented parties (including repeat plaintiff PHMPT) again sued FDA in

PHMPT 2. In PHMPT 2, the records at issue are estimated to be over 4.5 million pages related to

Pfizer’s 12-to-15-year-old indication for the Comirnaty vaccine for COVID-19 (“Pfizer 12-15

records”) and Moderna’s Spikevax vaccine for COVID-19 (“Moderna records”). After substantial

briefing and a hearing (see PHMPT 2, ECF Nos. 27 and 34), in which ALFOI emphasized its

unprecedented workload and significant resource constraints amidst a growing FOIA backlog, the

same court imposed an even more burdensome monthly production schedule:

       a) From July 2023 to November 2023, ALFOI must comply with monthly rates ranging

             from 35,000 pages to 55,000 pages per month in PHMPT 2. This is concurrent with

             the 55,000 pages per month being produced in PHMPT 1.

       b) Starting in December 2023, ALFOI must produce at least 180,000 pages per month in

             PHMPT 2 (at that time, the productions in PHMPT 1 should be complete).

       c) Deadlines for producing the records in full compound the burdens associated with the

             minimum monthly rates, which may require the actual monthly productions to be even

             higher. The Pfizer 12-15 records (estimated at nearly 500,000 pages) must be produced

             in full by January 2, 2024. The Moderna records (estimated at over 4 million pages)

             must be produced in full by June 30, 2025.

ALFOI is undertaking immediate and aggressive efforts to hire additional staff and contractors,

seek funding, and reorganize its resources in an attempt to effectuate production at a pace that is,

to our knowledge, many orders of magnitude greater than anything any agency has ever

encountered in a FOIA order.




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       27.      The court’s order in PHMPT 2, which provides a table of ALFOI’s monthly

obligations in PHMPT 1 and 2 from July 2023 to June 2025, is attached to this declaration as

Attachment A.

       28.      Since the issuance of the PHMPT 2 order, DDOM/ALFOI have triaged resources

to meet the July and August deadlines in PHMPT 1 and 2. ALFOI has once again reorganized its

staff, leaving only a handful of staff working on all non-litigation FOIA requests. Additionally,

DDOM is reassigning staff as available to assist in the review of some records.

       29.      ALFOI and DDOM have also been engaged in conversations with CBER’s Director

and Office of Management as well as FDA’s Office of the Commissioner regarding the estimated

resources needed to meet its court-ordered and essential obligations. CBER continues to carefully

consider the number of employees/contractors needed for these productions, especially given the

extremely high costs to the agency. While CBER has advertised for new full-time employee

positions, efforts to identify the availability of resources—particularly this quantity of resources

during a time of budgetary uncertainty—are time-intensive and on-going.

       30.      Even if CBER is awarded the resources it hopes to add to ALFOI, receiving funds

and hiring are merely the first steps in a labor-intensive process needed to train employees so they

can fully contribute to ALFOI’s disclosure work. ALFOI cannot take shortcuts when hiring and

training new employees. The process of advertising, recruiting, interviewing, and administrative

onboarding alone takes several months (assuming a qualified candidate is found). Then, after a

new employee is onboarded, it takes approximately two years for an employee to be fully trained

so they can meaningfully contribute to ALFOI’s disclosure efforts. In the meantime, more senior

employees monitor new employees to ensure they perform straightforward tasks accurately. As

they develop, new employees are asked to engage in more complex tasks, and current employees




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continue to provide oversight so that these tasks, which often require more guidance, are performed

accurately. Given this necessary process, while new employees are in training, they slow, at least

initially, the efficiency of current ALFOI staff, because staff must balance the need to onboard and

train new hires against the need to timely and accurately process outstanding requests. Thus,

although CBER’s continued hiring and training efforts represent the agency’s good-faith

investment to comply with its court-ordered production mandates and address the existing backlog

of FOIA requests (like Plaintiff’s in this case), its resources remain limited by the lengthy ramp-

up period for new employees.

       31.     ALFOI understands Plaintiff wants to receive records responsive to its FOIA

request as quickly as possible, and ALFOI is committed to processing the request once it is in a

position to do so. But given the substantial effect that PHMPT 1 and PHMPT 2 have had on

ALFOI’s workload, ALFOI does not have the bandwidth at this time to concurrently produce

records in response to the request at issue in this litigation. In the coming months, ALFOI will

continue its extraordinary efforts to maximize its chances of satisfying the court-ordered

productions in PHMPT 1 and PHMPT 2 so it can resume processing Plaintiff’s and other

outstanding FOIA requests.


                                         *       *       *




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       Pursuant to 28 U.S.C. § 1746, I declare under the penalty of perjury that the foregoing is

true and correct.


Executed on September 13, 2023.




                                                                       Digitally signed by Suzann H.
                                             Suzann H. Burk -S Burk -S
                                                               Date: 2023.09.13 16:53:11 -04'00'
                                             _________________________________
                                             Suzann Burk
                                             Director
                                             Division of Disclosure and Oversight Management
                                             Office of Communication, Outreach and
                                             Development
                                             Center for Biologics Evaluation and Research
                                             Food and Drug Administration
                                             U.S. Department of Health and Human Resources




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